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Acting United States Trustee for Region 18


                          UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF IDAHO

In re:                                            Case No.: 20-00319-NGH

CHRISTIAN DOUGLAS EMRY and                        Chapter 7
CYNTHIA KAY EMRY,


                        Debtor(s).


                                 MOTION TO REOPEN CASE

         The Acting United States Trustee moves under 11 U.S.C. § 350(b) that this case be

reopened and that he be authorized to appoint a chapter 7 trustee for the reasons set forth below.

         1.     The debtors, Christian Douglas Emry and Cynthia Kay Emry, (“Debtors”), filed a

voluntary petition for relief under Chapter 13 of the Bankruptcy Code on April 3, 2020.

         2.     The Chapter 13 case was converted to Chapter 7 by order of the Court on June 1,

2020.

         3.     Gary Rainsdon was thereafter appointed as the Chapter 7 Trustee in the case

(“Trustee Rainsdon”).


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        4.      On September 2, 2020, Trustee Rainsdon filed a Chapter 7 Trustee’s Report of No

Distribution and Closing Estate.

        5.      An Order approving the Trustee’s Report of No Distribution and closing the case

was entered on September 24, 2020.

        6.      The Acting United States Trustee’s office recently received communications

indicating the debtor may be entitled to an income tax refund with a non-exempt amount that

would likely result in a distribution to creditors of the bankruptcy estate and which needs to be

administered. 11 U.S.C. §§ 541, 554(d); see Pace v. Battley (In re Pace), 146 B.R. 562, 564 -

566 (9th Cir. BAP 1992), aff’d. 17 F.3d 395 (9th Cir. 1994); Lopez v. Specialty Restaurants

Corp. (In re Lopez), 283 B.R. 22, 28 (9th Cir. BAP 2002).

        7.      This bankruptcy case should be reopened, and a trustee appointed so the above-

referenced asset can be administered. 11 U.S.C. § 350(b) provides that a bankruptcy case “may

be reopened in the court in which such case was closed to administer assets . . . .” See In re

Ransom, 2000 WL 33712560 *2 (Bankr. D. Idaho 2000) (Movant has the burden of establishing

cause to reopen and the motion presents “only a narrow range of issues: whether further

administration [of the bankruptcy case] appears to be warranted; whether a trustee should be

appointed; and whether the circumstances of reopening necessitate payment of another filing fee.

Extraneous issues should be excluded.”) (quoting Menk v. Lapaglia (In re Menk), 241 B.R. 896,

916 - 917 (9th Cir. BAP 1999). A case may be reopened on ex-parte motion filed by a party in

interest. See In re Menk, 241 B.R. at 915.

        8.      Federal Rule of Bankruptcy Procedure 5010 provides that in chapter 7, 12 or 13

cases, “a trustee shall not be appointed by the United States trustee unless the court determines

that a trustee is necessary to protect the interests of creditors and the debtor or to insure the
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efficient administration of the case.” The Acting United States Trustee should be authorized to

appoint a chapter 7 trustee because such an appointment is necessary to administer the above-

referenced asset.

       The Acting United States Trustee moves that the Court enter an order reopening this case

and authorizing him to appointment a Chapter 7 trustee, and for such other relief as may be just

and proper under the circumstances.

Dated: March 2, 2021
                                                    GREGORY M. GARVIN
                                                    Acting U.S. Trustee for Region 18


                                                    By: /s/ Jason R. Naess
                                                    Jason R. Naess
                                                    Assistant U.S. Trustee
                                                    [Non CM/ECF] email address
                                                    Jason.r.naess@usdoj.gov




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 2, 2021, I caused the foregoing document to be
filed with the Court’s CM/ECF system which causes a copy of the foregoing to be served by
electronic means on the parties reflected on the Notice of Electronic Filing.

Holly Sutherlan, Debtor's Counsel

Gary Rainsdon, Previous Trustee


        AND I FURTHER CERTIFY that on such date I caused to be served the foregoing
document on the following non-CM/ECF Registered Participants via first class mail, postage
paid, on the following:

Christian D. Emry
Cynthia K. Emry
269 W. Bacall Drive
Meridian, ID 83646



Date: March 2, 2021



                                                          /s/ Ken Harris
                                                          Ken Harris
                                                          Paralegal Specialist




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